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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

   UNITED   STATES               OF
   AMERICA,                              Criminal No. 1: 22-cr-089-ZMF
                    -v-
           NANCY BARRON,
                Defendant.


      I, Roger Roots, hereby certify under penalty of perjury that the following is true

and correct:


      1.        I am an associate with the law firm John Pierce Law P.C., located 21550

Oxnard Street, 3rd Floor, PMB 172, Woodland Hills, CA 91367. I reside in Livingston,

Montana where I practice law remotely.

      2.        I am an active member in good standing of the state bar of Rhode Island

((SBN 6752)).

      3.        I am a member in good standing of all the jurisdictions in which I am

admitted to practice.

      4.        I have never been disciplined by any court, and no disciplinary

proceedings are pending against me.

      5.        During the past two years, I have applied for admission pro hac vice in

this Court seven times previously.

      6.        I am familiar with the Local Rules of this Court, the provisions of the

Judicial Code (Title 25 U.S.C.) which pertains to the jurisdiction of and practice in
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the United States District Courts, the Federal Rules of Civil Procedure, the Federal

Rules of Evidence, the Rules of Professional Conduct as adopted by the District of

Columbia Court of Appeals, and the D.C. Bar Voluntary Standards for Civility in

Professional Conduct.


Dated: August 21, 2023

                                      Roger Roots
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                                      Woodland Hills, CA 91367
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